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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


 FEDERAL TRADE COMMISSION and
 OFFICE OF THE ATTORNEY
 GENERAL, STATE OF FLORIDA,
 DEPARTMENT OF LEGAL AFFAIRS,

                       Plaintiffs,

 v.                                                           Case No: 6:16-cv-982-Orl-41TBS

 LIFE MANAGEMENT SERVICES OF
 ORANGE COUNTY, LLC, LOYAL
 FINANCIAL & CREDIT SERVICES,
 LLC, IVD RECOVERY, LLC, KWP
 SERVICES, LLC, KWP SERVICES OF
 FLORIDA LLC, LPSOFFLA LLC,
 LPSOFFLORIDA L.L.C., PW&F
 CONSULTANTS OF FLORIDA LLC,
 UAD SECURE SERVICES LLC, UAD
 SECURE SERVICE OF FL LLC, URB
 MANAGEMENT, LLC, YCC
 SOLUTIONS LLC, YFP SOLUTIONS
 LLC, KEVIN W. GUICE, CHASE P.
 JACKOWSKI, LINDA N. MCNEALY,
 CLARENCE H. WAHL, KAREN M.
 WAHL, ROBERT GUICE and
 TIMOTHY WOODS,

                       Defendants.
                                             /

                                             ORDER

        THIS CAUSE is before the Court on Receiver’s Motion to Establish Summary Procedures

 (“Motion,” Doc. 171). Although the Motion indicates that Defendant Kevin Guice and his wife,

 Shannon Guice, who is not a party, oppose the relief sought therein, no response in opposition was

 filed. The remaining Defendants do not oppose the Motion.

        For the reasons set forth in the motion, it is ORDERED and ADJUDGED as follows:




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          1. The Receiver’s Motion to Establish Summary Procedures (Doc. 171) is

             GRANTED.

          2. The Receiver’s Motion for Oral Argument (Doc. 195) is DENIED as moot.

          3. On or before June 12, 2018, the Receiver shall file his Motion for Disgorgement.

             Because Guice is a party to this action, he will be served in accordance with Federal

             Rule of Civil Procedure 5(b)(2)(C) once the motion is filed.

          4. On or before June 19, 2018, the Receiver shall serve Shannon Guice with the

             Motion for Disgorgement and a copy of this Order in accordance with Federal Rule

             of Civil Procedure 4.

          5. On or before July 20, 2018, the Guices shall file a Response to the Motion for

             Disgorgement in the manner prescribed in Federal Rule of Civil Procedure

             56(c)(1)–(2).

          6. If the Guices intend to assert affirmative defenses to the claims raised in the Motion

             for Disgorgement, they shall do so in the manner described in Federal Rule of Civil

             Procedure 12(b) and cite materials in the record that would support the factual

             allegations necessary to establish such defenses.

          7. If the Guices believe that they cannot present facts essential to justify their

             opposition to the Motion for Disgorgement, then on or before June 26, 2018, they

             shall file a motion to reopen discovery. Such a motion shall include (1) specific

             material facts that the Guices seek to discover; (2) whether the Guices seek to obtain

             affidavits or to take discovery; and (3) an explanation as to why the proposed

             discovery is reasonably calculated to demonstrate those specific material facts.




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        DONE and ORDERED in Orlando, Florida on June 5, 2018.




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




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